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   20
                           UNITED STATES DISTRICT COURT
   21
                        SOUTHERN DISTRICT OF CALIFORNIA
   22
                                               No. 17-cv-0108-GPC-MDD
   23
      IN RE: QUALCOMM LITIGATION [Consolidated with
   24                                          Case No. 3:17-CV-01010-GPC-MDD]
   25                                        JOINT MOTION REGARDING
                                             MODIFICATION OF CASE SCHEDULE
   26
                                             Honorable Mitchell D. Dembin
   27
   28
                                                                Case No. 17-cv-0108-GPC-MDD
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    1        Pursuant to the provisions of this Court’s Chamber Rule III.D. regarding
    2 requests to modify the schedule, the parties Apple Inc. (“Apple”) and Compal
    3 Electronics, Inc., FIH Mobile Ltd., Hon Hai Precision Industry Co., Ltd., Pegatron
    4 Corporation, and Wistron Corporation (collectively, the “CMs”) on one hand and
    5 Qualcomm, Inc. (“Qualcomm”) on the other, submit this Joint Motion Regarding
    6 Modification of Case Schedule.
    7        Concurrently with this Joint Motion, Apple and the CMs on one hand and
    8 Qualcomm on the other, are also filing separate memoranda of points and authorities
    9 supporting the positions stated herein, and declarations supporting the same.
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                                                 1                Case No. 17-cv-0108-GPC-MDD
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    1            A. APPLE AND THE CMs REQUEST FOR MODIFICATION OF
    2               CASE SCHEDULE
    3 Apple and the CMs, for the reasons stated in their Memorandum of Points and
    4 Authorities, request that the Court modify the case schedule as follows:
    5                 Event                Current Deadline          New Deadline
    6       Close of Fact Discovery     May 11, 2018             May 11, 2018
    7       Opening Expert Reports      March 12, 2018           July 10, 2018
    8       Rebuttal Expert Reports      April 13, 2018          August 9, 2018
    9       Close of Expert Discovery May 11, 2018               September 10, 2018
   10
            Pretrial Motions             June 22,2018            October 22, 2018
   11
            Pretrial Disclosures         June 22, 2018           October 22, 2018
   12
            Local Rule 16.1(f)(4)       September 7, 2018        January 8, 2019
   13
            Conference
   14
            Plaintiff Counsel Serve     September 14, 2018       January 15, 2019
   15
            Proposed Pretrial Order
   16
            Propose Final Pretrial      September 21, 2018       January 22, 2019
   17
            Conference Order
   18
            Final Pretrial Conference    September 28, 2018      January 29, 2019
   19
                 B. QUALCOMM’S REQUEST REGARDING MODIFICATION OF
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                    CASE SCHEDULE
   21
              Qualcomm, for the reasons stated in the Memorandum of Points and
   22
        Authorities, and in response to the changes proposed by Apple and the CMs,
   23
        proposes the Court modify the case schedule as follows. Should the Court
   24
        determine that any changes to the current schedule would require postponing the
   25
        date upon which this case will be trial-ready, Qualcomm requests that the Court
   26
        leave the schedule unchanged.
   27
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                                                  2                  Case No. 17-cv-0108-GPC-MDD
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    1                 Event                Current Deadline           New Deadline
         Substantial Completion of                   N/A            February 28, 2018
    2    Document Production
    3    Last for Parties to Make
         Available for Deposition
    4    Witnesses Requested by                      N/A              May 11, 2018
         Another Party for Expert
    5    Discovery or Summary
         Judgment
    6    Close of Written Discovery           May 11, 2018            May 11, 2018
    7    Close of All Fact Discovery          May 11, 2018            June 18, 2018
         Expert Reports on Topics for
    8    Which Parties Bear Initial          March 12, 2018           May 18, 2018
         Burden of Proof
    9
         All Other Expert Reports            April 13, 2018          June 18, 2018
   10    Close of Expert Discovery           May 11, 2018             July 20, 2018
   11    Summary Judgment                    June 22, 2018           June 22, 2018
         Daubert / Motions in Limine         June 22, 2018           August 8, 2018
   12
         Pre-Trial Disclosures               June 22, 2018                TBD1
   13    Hearing on Dispositive
         Motions                                     TBD                   TBD
   14
         Local Rule 16.1(f)(4) M&C         September 7, 2018       September 7, 2018
   15    Pre-Trial Order Draft Served      September 14, 2018      September 14, 2018
   16    Pre-Trial Order Due               September 21, 2018      September 21, 2018
         Final Pre-Trial Conference        September 28, 2018      September 28, 2018
   17
         Trial                                   TBD                October 15, 20182
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           The parties will meet and confer regarding the exchange of disclosures required
   27 pursuant to Rule 26(a)(3).
         2
           Or first date the Court is available thereafter.
   28
                                                 3                  Case No. 17-cv-0108-GPC-MDD
Case 3:17-cv-00108-GPC-MDD Document 285 Filed 01/19/18 PageID.12213 Page 5 of 10




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                                             4                   Case No. 17-cv-0108-GPC-MDD
Case 3:17-cv-00108-GPC-MDD Document 285 Filed 01/19/18 PageID.12214 Page 6 of 10




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Case 3:17-cv-00108-GPC-MDD Document 285 Filed 01/19/18 PageID.12215 Page 7 of 10



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Case 3:17-cv-00108-GPC-MDD Document 285 Filed 01/19/18 PageID.12216 Page 8 of 10




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                                             7                 Case No. 17-cv-0108-GPC-MDD
Case 3:17-cv-00108-GPC-MDD Document 285 Filed 01/19/18 PageID.12217 Page 9 of 10




    1                              FILER’S ATTESTATION

    2        Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative

    3 Policies and Procedures of the United States District Court of the Southern District
    4 of California, I certify that authorization for the filing of this document has been
    5 obtained from the other signatory shown above and that said signatory has
    6 authorized placement of his electronic signature on this document.
    7 Dated: January 19, 2018
    8                                        s/ Seth M. Sproul
    9                                        Seth M. Sproul

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Case 3:17-cv-00108-GPC-MDD Document 285 Filed 01/19/18 PageID.12218 Page 10 of 10




     1                             CERTIFICATE OF SERVICE
               The undersigned hereby certifies that a true and correct copy of the above and
     2
         foregoing document has been served on January 19, 2018, to all counsel of record
     3
         who are deemed to have consented to electronic service via the Court’s CM/ECF
     4
         system per Civil Local Rule 5.4. Any other counsel of record will be served by
     5
         electronic mail, facsimile and/or overnight delivery.
     6
               Executed on January 19, 2018, at San Diego, California.
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